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                                                      UNITED STATES DISTRICT COURT

                                                           DISTRICT OF MASSACHUSETTS


___________________________________
                                                                            )
PROJECT VERITAS ACTION FUND,                                                )
                                                                            )
                                                           Plaintiff,       )
                                                                            )
v.                                                                          )            Civil Action
                                                                            )          No. 16-10462-PBS
DANIEL F. CONLEY, in his Official                                           )
Capacity as Suffolk County                                                  )
District Attorney,                                                          )
                                                                            )
                    Defendant.                                              )
______________________________                                              )


                                                               MEMORANDUM AND ORDER

                                                                  March 23, 2017

Saris, C.J.

              Plaintiff Project Veritas Action Fund (“Project Veritas”),

a news gathering organization, brings facial and as-applied

challenges to the Massachusetts Wiretap Statute, Mass. Gen. Laws

ch. 272, § 99 (“Section 99”), on the ground that it violates the

First and Fourteenth Amendments by prohibiting secret recording

of the oral conversations of public and private individuals.1 The

verified complaint, brought under 28 U.S.C. §§ 2201-02 and 42



                                                            
1
     Other plaintiffs raised similar claims before this Court in
      
Martin v. Evans, No. CV 16-11362-PBS, 2017 WL 1015000, at *1 (D.
Mass. Mar. 13, 2017). The Court assumes familiarity with that
opinion.
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U.S.C. § 1983, seeks declaratory and injunctive relief. The

Defendant, Suffolk County District Attorney, Daniel Conley,

moves to dismiss on the grounds that plaintiff lacks standing

and the complaint fails to state a claim.

     After hearing, the Court DENIES the Motion to Dismiss

(Docket No. 26) in part and ALLOWS it in part. The Court holds

that Project Veritas survives the standing challenge with

respect to its claim that the state prohibition of the secret

recording of private individuals violates the First Amendment.

However, the Court holds that Section 99’s ban on the secret

recording of conversations by private individuals does not

violate the First Amendment because the statute is narrowly

tailored to promote the significant governmental interest of

protecting the conversational privacy of Massachusetts

residents. The Motion for Preliminary Injunction (Docket No. 21)

is DENIED.

                          FACTUAL BACKGROUND

     For the purposes of the motion to dismiss, the facts are

taken as true, as alleged in the verified complaint.

     Project Veritas is a national media organization primarily

engaged in undercover journalism. Its undercover newsgathering

techniques involve recording and intercepting oral

communications of persons without their knowledge or consent.



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This secret recording often occurs in public places such as

polling places, sidewalks, and hotel lobbies.

              These undercover techniques are used in news gathering in a

variety of scenarios. In 2014, Project Veritas utilized

“undercover newsgathering” to discover “a stark contrast between

the public statements of a candidate for United States Senate in

Kentucky and the statements of her campaign staff.” Docket No. 1

¶ 22. In September 2015, Project Veritas “exposed campaign

finance violations in New York using undercover techniques.” Id.

¶ 23. It exposed “electoral malfeasance” in Nevada using similar

recording techniques. Id. ¶ 24. Most recently, it “detailed the

weakness of voter registration laws in New Hampshire by focusing

on the surreptitiously recorded statements of government

officials.” Id. ¶ 25.

              Project Veritas has not previously engaged in any

surreptitious recording in Massachusetts, though it wants to,

because of a fear that utilizing undercover techniques in

Massachusetts would expose it to criminal and civil liability

under Section 99.2 Project Veritas hopes to undertake undercover

investigation of public issues in Boston and throughout


                                                            
2
     Project Veritas also alleges that another provision of the
statute, § 99(Q), “would subject it to civil lawsuits under
Massachusetts law from aggrieved persons, subjecting it to
claims for actual damages, punitive damages, and attorney’s
fees.” Docket No. 1 ¶ 19. However, PVA does not seek any
relief regarding this section. See id. at 9.
                                                               3
 
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Massachusetts. Id. ¶ 27. Specifically, Project Veritas alleges

that it “would like to investigate the recently reported

instances of landlords taking advantage of housing shortages in

Boston where students may live in unsafe and dilapidated

conditions. Likewise, [Project Veritas] would like to

investigate the trustworthiness and accountability of government

officials, including police officers, in a variety of public and

non-public settings.” Id. ¶ 21.

                            LEGAL FRAMEWORK

I.   Motion to Dismiss Standard

     Courts evaluate motions to dismiss for lack of standing

under Federal Rule of Civil Procedure 12(b)(1). See United

Seniors Ass’n, Inc. v. Philip Morris USA, 500 F.3d 19, 23 (1st

Cir. 2007). In assessing Project Veritas’ standing, the court

must take the complaint’s well-pleaded facts as true and indulge

all reasonable inferences in its favor. Hochendoner v. Genzyme

Corp., 823 F.3d 724, 730 (1st Cir. 2016). “[A]t the pleading

stage, the plaintiff bears the burden of establishing sufficient

factual matter to plausibly demonstrate his standing to bring

the action. Neither conclusory assertions nor unfounded

speculation can supply the necessary heft.” Id. at 731.

     The same basic principles apply to evaluating a Rule

12(b)(6) motion used to dismiss complaints that do not “state a

claim upon which relief can be granted.” See Fed. R. Civ. P.

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12(b)(6). In evaluating a Rule 12(b)(6) motion, the Court must

accept the factual allegations in the plaintiff’s complaint as

true, construe reasonable inferences in its favor, and

“determine whether the factual allegations in the plaintiff’s

complaint set forth a plausible claim upon which relief may be

granted.” Foley v. Wells Fargo Bank, N.A., 772 F.3d 63, 71 (1st

Cir. 2014).

     To survive a motion to dismiss pursuant to Rule 12(b)(6),

the factual allegations in a complaint must “state a claim to

relief that is plausible on its face.” Ashcroft v. Iqbal, 556

U.S. 662, 678 (2009) (citing Bell Atl. Corp. v. Twombly, 550

U.S. 544, 570 (2007)). “A claim has facial plausibility when the

plaintiff pleads factual content that allows the court to draw

the reasonable inference that the defendant is liable for the

misconduct alleged.” Id. at 678 (citing Twombly, 550 U.S. at

556). To reach the threshold of plausibility, the allegations

must be “more than merely possible.” Schatz v. Repub. State

Leadership Comm., 669 F.3d 50, 55 (1st Cir. 2012). Dismissal for

failure to state a claim pursuant to Rule 12(b)(6) is

appropriate when the complaint fails to set forth “factual

allegations, either direct or inferential, respecting each

material element necessary to sustain recovery under some

actionable legal theory.” Berner v. Delahanty, 129 F.3d 20, 25



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(1st Cir. 1997) (quoting Gooley v. Mobil Oil Corp., 851 F.2d

513, 515 (1st Cir. 1988)).

II.   Massachusetts Wiretap Statute

      The Massachusetts Wiretap Statute makes it a crime to

“willfully commit[] an interception, attempt[] to commit an

interception, or procure[] any other person to commit an

interception or to attempt to commit an interception of any wire

or oral communication.” Mass. Gen. Laws ch. 272, § 99(C)(1).

Interception is defined as “to secretly hear, secretly record,

or aid another to secretly hear or secretly record the contents

of any wire or oral communication through the use of any

intercepting device by any person other than a person given

prior authority by all parties to such communication.” Id.

§ 99(B)(4). An oral communication is defined as “speech, except

such speech as is transmitted over the public air waves by radio

or other similar device.” Id. § 99(B)(2).

                                DISCUSSION

I.    Standing for Pre-Enforcement Review

      Defendant Conley moves to dismiss pursuant to Federal Rule

of Civil Procedure 12(b)(1) arguing that Project Veritas lacks

standing to bring this suit since it fails to allege facts that

show, with any plausible degree of specificity, that it intends

to secretly record the oral communications of individuals in



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Suffolk County without their consent in violation of

Massachusetts law.

     Project Veritas alleges that if not for Section 99, it

would secretly record “landlords taking advantage of housing

shortages in Boston where students may live in unsafe and

dilapidated conditions” and would also record communications in

order to investigate “the trustworthiness and accountability of

government officials, including police officers, in a variety of

public and non-public settings.” Docket No. 1 ¶ 21. James

O’Keefe, President of Project Veritas, “verif[ied] under penalty

of perjury under the laws of the United States of America that

the factual statements contained in [Project Veritas’] Verified

Complaint concerning [Project Veritas’] existing and proposed

activities are true and correct.” Docket No. 1 ex. 1. Project

Veritas argues that it cannot provide any more specific details

about whom it intends to record, where, when and how frequently

because it cannot know all the developments an investigation may

involve. To disclose this type of information would severely

hinder the success of the investigation.

     The First Circuit has stated that “when dealing with pre-

enforcement challenges to recently enacted (or, at least, non-

moribund) statutes that facially restrict expressive activity by

the class to which the plaintiff belongs, courts will assume a

credible threat of prosecution in the absence of compelling

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contrary evidence.” N.H. Right to Life Political Action Comm. v.

Gardner, 99 F.3d 8, 15 (1st Cir. 1996). See generally Susan B.

Anthony List v. Driehaus, 134 S. Ct. 2334 (2014).

     In Martin v. Evans, the Court set forth the caselaw

governing pre-enforcement challenges to statutes based on the

First Amendment. 2017 WL 1015000, at *2-4. There the Court

concluded that the plaintiffs, two civil rights activists, would

face a credible threat of prosecution should they engage in

their intended actions of secretly tape recording police

officers. Id. at *4. In Martin, the complaint alleged recent

instances of Section 99 prosecutions in the state “against

secret recording of police officers performing their duties in

public.” Id. at *2. The complaint also alleged that the Boston

Police Department has “official training materials [that]

instruct officers that they have a ‘right of arrest’ whenever a

person secretly records oral communications.” Id.

     Section 99 is not a moribund law. Although there are no

statistics in this record about how often persons are arrested

or charged for a Section 99 violation, the Supreme Judicial

Court reaffirmed the vitality of the statute in Commonwealth v.

Hyde. 750 N.E.2d 963, 964 (Mass. 2001) (finding that an

individual may be prosecuted under Section 99 for secretly tape

recording statements made by police officers during a routine

traffic stop). Moreover, when asked at the hearing in Martin,

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Conley’s counsel did not disavow enforcement of Section 99. See

Blum v. Holder, 744 F.3d 790, 799 (1st Cir. 2014) (finding no

standing where “the Government . . . disavowed any intention to

prosecute plaintiffs for their stated intended conduct”).

     Project Veritas stated in its verified complaint that it

intends to investigate private landlords. Project Veritas is an

aggressive news gathering organization that has engaged in

significant undercover surveillance of private individuals in

states that permit it. There is no reason to believe it would

not be doing so in Massachusetts if it were not deterred by the

law. As such, the Court finds a credible threat of enforcement

against Project Veritas that has chilled its speech with respect

to its specific intent to investigate “scofflaw” landlords.

     With respect to Project Veritas’ claim that it intends to

investigate government officials, however, the allegations are

too vague to pass muster. Project Veritas does not specify any

particular investigation it seeks to undertake. While Project

Veritas states it would be tipping its hand by being too

specific about individuals it is investigating, the law requires

a plausible showing of true intent to investigate that has been

chilled. In evaluating a pre-enforcement challenge, a court must

distinguish between situations where the plaintiff’s “interest

was manifest and the parameters of the activity that it proposed

to undertake were discrete and well-defined,” from cases

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involving “plaintiffs who were unlikely to engage in the

proscribed activity or plaintiffs who had formulated no firm

plans for doing so.” R.I. Ass’n of Realtors, Inc. v. Whitehouse,

199 F.3d 26, 32 n. 2 (1st Cir. 1999).

      The Court concludes that Project Veritas has sufficiently

alleged standing with respect to the First Amendment challenge

to the ban on the secret audio recording of private individuals.

However, the motion to dismiss is allowed with respect to

government officials without prejudice to repleading more

specific allegations.

II.   First Amendment As-Applied Challenge

      Conley argues that Project Veritas fails to state a claim

under the First Amendment because the First Amendment does not

provide a right to secretly record oral communications. The

First Circuit has recognized that the First Amendment protects

“a citizen’s right to film government officials, including law

enforcement officers, in the discharge of their duties in a

public space . . . .” Glik v. Cunniffe, 655 F.3d 78, 85 (1st

Cir. 2011). Although information gathering about matters of

public interest through audio and audio-visual recording in

public spaces is protected by the First Amendment, it is subject

to reasonable restrictions. Id. at 83-84. The Fifth Circuit

recently cited Glik in Turner v. Lieutenant Driver, concluding

that a “First Amendment right to record the police does exist,

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subject only to reasonable time, place, and manner

restrictions.” 848 F.3d 678, 688 (5th Cir. 2017); see also Smith

v. City of Cumming, 212 F.3d 1332, 1333 (11th Cir. 2000)

(finding a “First Amendment right, subject to reasonable time,

manner and place restrictions, to photograph or videotape police

conduct”).

     As the Court explained in Martin, the Court must apply

intermediate scrutiny because Section 99 is a content-neutral

law. 2017 WL 1015000, at *7. The Court found “[t]he government

does not have a significant interest in protecting the privacy

of law enforcement officials discharging their duties in a

public space” and that the law was not narrowly tailored to

serve other important government interests. Id. at *8. As such,

the Court held, “Section 99, as applied to the secret recording

of government officials in the performance of their duties in

public, violates the First Amendment.” Id. Martin did not

involve a claim challenging Section 99’s prohibition on secretly

recording the conversations of private individuals.

     The cutting-edge issue in this case is whether Section 99

violates the First Amendment by categorically prohibiting the

intentional secret recording of private individuals.

     The Supreme Court has held, “[p]rivacy of communication is

an important interest.” Bartnicki v. Vopper, 532 U.S. 514, 532

(2001) (involving the illegal tape-recording and broadcast of a

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private conversation about a matter of public concern published

by the media in a union dispute). “Moreover, the fear of public

disclosure of private conversations might well have a chilling

effect on private speech.” Id. at 532-33. The government has a

significant interest in protecting the “conversational privacy”

of its citizens. Am. Civil Liberties Union of Ill. v. Alvarez,

679 F.3d 583, 608 (7th Cir. 2012) (holding that the Illinois

eavesdropping statute violated the First Amendment in an action

involving the open recording of police officers).

     The express legislative purpose of Section 99’s unequivocal

ban of secret audio recording is to protect Massachusetts

citizens’ privacy. The statute’s preamble states that secret

recording “pose[s] grave dangers to the privacy of all citizens

of the commonwealth.” Mass. Gen. Laws ch. 272 § 99(A). The

Supreme Judicial Court (“SJC”) stated: “The statute’s preamble

expresses the Legislature’s general concern that ‘the

uncontrolled development and unrestricted use of modern

electronic surveillance devices pose[d] grave dangers to the

privacy of all citizens of the commonwealth’ and this concern

was relied on to justify the ban on the public’s clandestine use

of such devices.” Commonwealth v. Hyde, 750 N.E.2d 963, 967

(Mass. 2001) (quoting Mass. Gen. Laws ch. 272 § 99(A)); see

Commonwealth. v. Gordon, 666 N.E.2d 122, 134 (Mass. 1996) (“It



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is apparent from the preamble that the legislative focus was on

the protection of privacy rights . . . .”).

     The SJC has found that the statute is meant to protect

individuals independent of their reasonable expectation of

privacy: “[W]e would render meaningless the Legislature’s

careful choice of words if we were to interpret ‘secretly’ as

encompassing only those situations where an individual has a

reasonable expectation of privacy. If the Legislature had

intended to [prohibit only secret recording where an individual

has a reasonable expectation of privacy], the statute would have

been written in terms similar to those used in the California

eavesdropping statute . . . . Rather, it is apparent from the

Report of the Special Commission on Electronic Eavesdropping,

1968 Senate Doc. No. 1132, that the legislative intent was to

impose more stringent restrictions on the use of electronic

devices by private individuals than is done in other States.”

Commonwealth v. Jackson, 349 N.E.2d 337, 340 (Mass. 1976).

     Project Veritas argues that it has the First Amendment

right to record private conversations of individuals speaking in

public places where there is no reasonable expectation of

privacy. But, “private talk in public places is common.”

Alvarez, 679 F.3d at 606. Individuals have conversations they

intend to be private, in public spaces, where they may be

overheard, all the time –- they meet at restaurants and coffee

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shops, talk with co-workers on the walk to lunch, gossip with

friends on the subway, and talk too loudly at holiday parties or

in restaurant booths. These types of conversations are ones

where one might expect to be overheard, but not recorded and

broadcast. There is a significant privacy difference between

overhearing a conversation in an area with no reasonable

expectation of privacy and recording and replaying that

conversation for all to hear. See Alvarez, 679 F.3d at 605-06

(recognizing that the First Amendment permits greater protection

for conversational privacy than for the public conversations of

public officials); see also State v. O’Brien, 774 A.2d 89, 96

(R.I. 2001) (“Although we may expect individuals with whom we

are communicating to hear and even to remember what we are

saying (and perhaps how we have said it), we usually do not

expect them to acquire surreptitiously an exact audio

reproduction of the conversation that they can later replay at

will for themselves or for others.”).

     Project Veritas protests that it intends to record

individuals such as “scofflaw” landlords and such newsgathering

serves an important public policy interest protected by the

First Amendment. Of course, reporters can take notes, but

Project Veritas makes a fair argument that audio-recording of an

individual will carry a more powerful punch than a reporter’s

recounting of an encounter. Alvarez, 679 F.3d at 606 (“We

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acknowledge the difference in accuracy and immediacy that an

audio recording provides as compared to notes or even silent

videos or transcripts.”).

     Project Veritas claims that Section 99 fails the

intermediate scrutiny standard because the statute is not

narrowly tailored to protect conversational privacy only in

those circumstances where there is a reasonable expectation of

privacy. “Most state electronic privacy statutes apply only to

private conversations; that is, they contain (or are construed

to include) an expectation-of-privacy requirement that limits

their scope to conversations that carry a reasonable expectation

of privacy.” Alvarez, 679 F.3d at 607 (citing Jesse Harlan

Alderman, Police Privacy in the iPhone Era?, 9 First Amend. L.

Rev. 487, 533-45 (2011) (collecting state statutes)); see, e.g.,

Cal. Penal Code § 632(c) (defining “confidential communication”

to exclude circumstances “in which the parties to the

communication may reasonably expect that the communication may

be overheard or recorded”). Project Veritas points out that

without the reasonable expectation of privacy benchmark, it

could be charged with a felony for intercepting oral

communications made by a private person giving a speech on the

Boston Public Common where the speaker had no possible

legitimate expectation of privacy. The SJC has eschewed an

approach that limits the reach of the statute to situations

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where the speaker did not have a reasonable expectation that his

speech is confidential. Commonwealth v. Rivera, 833 N.E.2d 1113

(Mass. 2005). However, the First Circuit pointed out: “Although

the case was resolved on other grounds, four of the seven

justices of the Supreme Judicial Court concurred to note that

the defendant’s unawareness of the audio recording capabilities

of the security cameras did not render the recordings ‘secret’

under the wiretap statute where the cameras were in plain

sight.” Glik, 655 F.3d at 87 (citing Commonwealth v. Rivera, 833

N.E.2d 1113, 1125 (Mass. 2005) (Cowin, J., concurring in part)

(“That the defendant did not know the camera also included an

audio component does not convert this otherwise open recording

into the type of ‘secret’ interception prohibited by the

Massachusetts wiretap statute.”); id. at 1130 (Cordy, J.,

concurring) (“Just because a robber with a gun may not realize

that the surveillance camera pointed directly at him is

recording both his image and his voice does not, in my view,

make the recording a ‘secret’ one within the meaning and intent

of the statute.”)). Thus, the statute permits open recording in

plain sight by cameras or cell phones with an audio component.

     Project Veritas argues that incorporating a reasonable

expectation of privacy limitation would adequately protect a

right to privacy that was enforceable in courts under state tort

or statutory law. See Mass. Gen. Laws ch. 214, § 1B (creating

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statutory right to privacy). The Massachusetts Legislature,

though, is not limited to using these after-the-fact tort

remedies which apply only after private conversations are

broadcast in public. While the reasonable expectation of privacy

standard for defining oral communications might be the least

restrictive alternative, that approach is not required under

intermediate scrutiny when the privacy of individual

conversations is at stake.

     In sum, under the intermediate scrutiny standard, Section

99 is narrowly tailored to serve the purpose of protecting

privacy by permitting only non-secret recordings of private

conversations. Project Veritas has failed to state a claim that

Section 99, as applied to the secret recording of private

individuals, violates the First Amendment.

III. Facial Challenge

     To succeed on a facial challenge a plaintiff generally

“must establish that no set of circumstances exists under which

[a legislative act] would be valid.” United States v. Salerno,

481 U.S. 739, 745 (1987). In the First Amendment context,

however, the overbreadth doctrine applies to facial challenges.

Virginia v. Hicks, 539 U.S. 113, 118 (2003) (citing Members of

City Council of L.A. v. Taxpayers for Vincent, 466 U.S. 789, 796

(1984)). “It is well established that in the area of freedom of

expression an overbroad regulation may be subject to facial

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review and invalidation, even though its application in the case

under consideration may be constitutionally unobjectionable.

This exception from general standing rules is based on an

appreciation that the very existence of some broadly written

laws has the potential to chill the expressive activity of

others not before the court.” Forsyth Cty., Ga. v. Nationalist

Movement, 505 U.S. 123, 129 (1992) (internal citations omitted).

     The overbreadth doctrine requires a substantial number of a

statute’s applications to be unconstitutional, “judged in

relation to the statute’s plainly legitimate sweep.” Wash. State

Grange v. Wash. State Republican Party, 552 U.S. 442, 449 n.6

(2008). The Supreme Court has recognized the overbreadth

doctrine as “strong medicine” and has limited its application to

instances where a law “prohibits a substantial amount of

protected speech.” United States v. Williams, 553 U.S. 285, 292-

93 (2008). To the extent that a statute infringes on First

Amendment rights, chills the exercise of a protected activity,

and is “sweeping” and without limitation, it is more likely to

be found constitutionally invalid. See, e.g., New York v.

Ferber, 458 U.S. 747, 771-72 (1982). However, if the reach of

the statute is limited, the statute is less likely to be found

constitutionally overbroad. Id. “It has long been recognized

that the First Amendment needs breathing space and that statutes

attempting to restrict or burden the exercise of First Amendment

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rights must be narrowly drawn and represent a considered

legislative judgment that a particular mode of expression has to

give way to other compelling needs of society.” Broadrick v.

Oklahoma, 413 U.S. 601, 611-12 (1973).

     Most applications of Section 99 are constitutional. Section

99 constitutionally protects private conversations in all

settings and conversations with government officials in

nonpublic settings or about non-official matters.

     Although Martin found Section 99 unconstitutional as

applied to the recording of government officials in the

discharge of their duties in public, a wide range of legitimate

applications remain. When the likelihood of unjustifiable

applications of the statute is a small fraction of the

constitutional applications, the statute is unlikely to be

substantially overbroad. See, e.g., Ferber, 458 U.S. at 773

(finding statutory ban on child pornography did not constitute

substantial overbreadth because medical, educational, or

artistic works containing nude children doubtfully “amount[ed]

to more than a tiny fraction of the materials within the

statute’s reach”). Since the reach of the statute is limited and

the majority of its applications are legitimate, Section 99 is

not substantially overbroad and it is not, therefore,

unconstitutional on its face.



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                                 ORDER

     Project Veritas’ Motion for a Preliminary Injunction

(Docket no. 21) is DENIED. Conley’s Motion to Dismiss (Docket

No. 26) is ALLOWED with respect to the secret recording of

private individuals. Pursuant to Fed. R. Civ. P. 12(b)(1), the

Motion to Dismiss (Docket No. 26) is ALLOWED as to government

officials but without prejudice to amending the complaint within

30 days.



                                 /s/ PATTI B. SARIS________________
                                 Patti B. Saris
                                 Chief United States District Judge




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